Case 5:16-cv-05366-TLB Document 162-1                  Filed 11/05/19 Page 1 of 5 PageID #: 8422




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF ARKANSAS


  DAVID BROWNE, et al.,
                                                       Civil Action No.: 5:16-cv-05366-TLB
                   Plaintiffs,

         v.                                                 DECLARATION OF JUSTIN L.
                                                                   SWIDLER
  P.A.M. TRANSPORT, INC., et al.

                   Defendants.



                            DECLARATION OF JUSTIN L. SWIDLER

         I, Justin L. Swidler, Esquire, state as follows:

         1.        I am an attorney at law licensed to practice in New Jersey, Pennsylvania, and

 admitted to this Court pro hac vice, and I am a founding partner in the law firm of Swartz Swidler,

 LLC, attorneys for Plaintiffs David Browne, Antonio Caldwell, and Lucretia Hall (hereinafter

 “Plaintiffs”). I make this declaration in support of Plaintiffs’ Motion for Partial Summary

 Judgment. I am fully familiar with the facts stated herein.

         2.     The following Exhibits support and are referenced in Plaintiffs’ Memorandum in

 Support of Plaintiffs’ Motion for Partial Summary Judgment.

         3.     A true and correct copy of Defendant’s Driver Manual is attached hereto as Exhibit

 1-A.

         4.     A true and correct copy of Defendant’s Circle of Service Macros is attached hereto

 as Exhibit 1-B.

         5.     A true and correct copy excerpts of Defendant’s Trainer’s Manual is attached hereto

 as Exhibit 1-C.



                                                   1
Case 5:16-cv-05366-TLB Document 162-1                  Filed 11/05/19 Page 2 of 5 PageID #: 8423




         6.     A true and correct copy of Defendant’s Claim Expense Authorization Form is

 attached hereto as Exhibit 1-D.

         7.     A true and correct copy of Defendant’s Supplemental Responses to Plaintiffs;

 Second Set of Interrogatories is attached hereto as Exhibit 1-E.

        16.     A true and correct copy of Defendant’s Responses to Plaintiffs’ Interrogatory

 Responses is attached hereto as Exhibit 1-F.

        17.     A true and correct copy of Defendant’s Escrow account Deduction Agreement is

 attached hereto as Exhibit 1-G.

        18.     A true and correct copy of Defendant’s Comdata Consent is attached hereto as

 Exhibit 1-H.

        19.     A true and correct copy of the Agreement between Comdata and PAM Transport is

 attached hereto as Exhibit 1-I.

        20.     A true and correct copy of the Expert Report of Dr. Robert Speakman is attached

 hereto as Exhibit 1-J.

        21.     A true and correct copy of the 30(b)(6) Deposition of Andrew Christensen dated

 December 19, 2017 is attached hereto as Exhibit 1-K.

        22.     A true and correct copy of the 30(b)(6) Deposition of Andrew Christensen dated

 May 30, 2019 is attached hereto as Exhibit 1-L.

        23.     A true and correct copy of the Deposition of Steve Bruce dated June 3, 2019 is

 attached hereto as Exhibit 1-M.

        24.     A true and correct of the Deposition of Nicholas Mott dated June 13, 2019 is

 attached hereto as Exhibit 1-N.




                                                   2
Case 5:16-cv-05366-TLB Document 162-1                 Filed 11/05/19 Page 3 of 5 PageID #: 8424




        25.     A true and correct copy of the Deposition of Jason Marx dated May 31, 2019 is

 attached hereto as Exhibit 1-O

        26.     A true and correct copy of the Deposition of Ryan English dated May 31, 2019 is

 attached hereto as Exhibit 1-P.

        27.     A true and correct copy of the Deposition of Michael Copelin dated May 31, 2019

 is attached hereto as Exhibit 1-Q.

        28.     A true and correct copy of the Deposition of Nick Humphrey dated June 3, 2019 is

 attached hereto as Exhibit 1-R.

        29.     A true and correct copy of the Deposition of Lance Stewart dated December 19,

 2017 is attached hereto as Exhibit 1-S.

        30.     A true and correct copy of the Deposition of Paul Bagwell dated May 30, 2019 is

 attached hereto as Exhibit 1-T.

        31.     A true and correct copy of the Deposition of Name Plaintiff David Browne dated

 January 3, 2018 is attached hereto as Exhibit 1-U.

        32.     A true and correct copy of the Deposition of Named Plaintiff Antonio Caldwell

 dated January 4, 2018 is attached hereto as Exhibit 1-V.

        33.     A true and correct copy of the Deposition of Lucretia Hall dated January 3, 2018 is

 attached hereto as Exhibit 1-W.

        34.     A true and correct copy of the Deposition of Kenneth Harding dated May 24, 2019

 is attached hereto as Exhibit 1-X.

        35.     A true and correct copy of the Deposition of Eli Lee dated May 23, 2019 is attached

 hereto as Exhibit 1-Y.




                                                 3
Case 5:16-cv-05366-TLB Document 162-1               Filed 11/05/19 Page 4 of 5 PageID #: 8425




        36.     A true and correct copy of the Deposition of Daniel Gonzalez dated August 3, 2018

 is attached hereto as Exhibit 1-Z.

        37.     A true and correct copy of the Deposition of Martin Garcia dated August 4, 2018

 is attached hereto as Exhibit 1-AA.

        38.     A true and correct copy of the Deposition of James Escobedo dated August 5, 2018

 is attached hereto as Exhibit 1-AB.

        39.     A true and correct copy of the Deposition of Billy Palmer dated May 8, 2019 is

 attached hereto as Exhibit 1-AC.

        40.     A true and correct copy of the Deposition of Jamal Johnson dated May 8, 2019 is

 attached hereto as Exhibit 1-AD.

        41.     A true and correct copy of the Deposition of Lee Appelt dated May 23, 2019 is

 attached hereto as Exhibit 1-AE.

        42.     A true and correct copy of the Deposition of Melody Acreman dated July 27, 2018

 is attached hereto as Exhibit 1-AF.

        43.     A true and correct copy of the Deposition of Robert Chapman dated July 27, 2018

 is attached hereto as Exhibit 1-AG.

        44.     A true and correct copy of the Deposition of Robert Lark dated July 30, 2018 is

 attached hereto as Exhibit 1-AH.

        45.     A true and correct copy of the Deposition of Nicholas Ricotta dated July 23, 2018

 is attached hereto as Exhibit 1-AI.

        46.     A true and correct copy of the Deposition of Remigio Galvan dated August 5, 2018

 is attached hereto as Exhibit 1-AJ.




                                                4
Case 5:16-cv-05366-TLB Document 162-1                 Filed 11/05/19 Page 5 of 5 PageID #: 8426




        47.    A true and correct copy of the Deposition of Killian Naughton dated August 23,

 2019 is attached hereto as Exhibit 1-AK.

        48.    A true and correct copy of the Deposition of Defendant’s Expert Dr. Matthew

 Thompson dated October 2, 2019 attached hereto as Exhibit 1-AL.

        49.    A true and correct copy of the Deposition of Lance Stewart dated May 29, 2019 is

 attached hereto as Exhibit 1-AM.

        50.    A true and correct copy of the Deposition of Lance Stewart dated May 30, 2019 is

 attached hereto as Exhibit 1-AN.

        51.    A true and correct copy of the Deposition of Sharon Oxley dated May 24, 2019 is

 attached hereto as Exhibit 1-AO.

        I declare, under penalties of perjury, that the foregoing is true to the best of my information

 and belief.



                                               /s/ Justin Swidler
                                               Justin L. Swidler, Esq.
                                               SWARTZ SWIDLER, LLC
                                               1101 Kings Highway N, Ste. 402
                                               Cherry Hill, NJ 08034
                                               Telephone: (856) 685-7420
                                               Facsimile: (856) 685-7417
                                               E-mail: jswidler@swartz-legal.com
                                               Attorneys for Plaintiffs

 Date: November 5, 2019




                                                  5
